          Case 1:18-cr-00593-PAE Document 48 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                                                                         18-CR-593 (PAE)
                        -v-
                                                                              ORDER
 ALLEN BROWN,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       For the reasons stated on the record at today’s conference, the Court ORDERS the

defendant to self-surrender to the United States Marshal Service for this district no later than

2:00 p.m. on October 21, 2020.


       SO ORDERED.


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                                                      __________________________________
                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: October 20, 2020
       New York, New York
